Case 2:18-cv-02217-SJO-FFM Document 42 Filed 04/18/18 Page 1 of 5 Page ID #:869



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     a.k.a. Stormy Daniels a.k.a. Peggy Peterson
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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10

11   STEPHANIE CLIFFORD a.k.a.                     CASE NO.: 2:18-cv-02217-SJO-FFM
     STORMY DANIELS a.k.a. PEGGY
12   PETERSON, an individual,
                                                   PLAINTIFF STEPHANIE
13                      Plaintiff,                 CLIFFORD’S EVIDENTIARY
14                                                 OBJECTIONS TO THE
           vs.
                                                   SUPPLEMENTAL DECLARATION
15                                                 OF BRENT H. BLAKELY IN
     DONALD J. TRUMP a.k.a. DAVID                  SUPPORT OF JOINT EX PARTE
16   DENNISON, and individual,
     ESSENTIAL CONSULTANTS, LLC, a                 APPLICATION OF DEFENDANTS
17   Delaware Limited Liability Company,           ESSENTIAL CONSULTANTS, LLC,
     MICHAEL COHEN and DOES 1                      DONALD J. TRUMP AND
18   through 10, inclusive,
                                                   MICHAEL COHEN FOR A STAY
19                                                 OF THIS ACTION [DKT NO. 40-2]
                        Defendants.
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          EVIDENTIARY OBJECTIONS TO SUPPLEMENTAL DECLARATION OF BRENT H. BLAKELY
Case 2:18-cv-02217-SJO-FFM Document 42 Filed 04/18/18 Page 2 of 5 Page ID #:870



 1         Plaintiff Stephanie Clifford hereby objects to the entirety of the Declaration of
 2   Brent H. Blakely. [Dkt. No. 40-2.]    To begin with, the new declaration should be
 3   disregarded because it constitutes new evidence submitted on reply. See Dzieciolowski
 4   v. DMAX Ltd., No. CV 15-2443-AG (ASX), 2016 WL 7650569, at *1 (C.D. Cal. Mar.
 5   16, 2016) (refusing to consider evidence submitted for the first time in a reply);
 6   Estakhrian v. Obenstine, 320 F.R.D. 63, 91 (C.D. Cal. 2017) (argument not raised in
 7   opening brief was waived).    In addition, Plaintiff also makes the following specific
 8   objections.
 9   OBJECTION TO SUPPLEMENTAL DECLARATION OF BRENT H. BLAKELY
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11                   Citation                          Objection                 Ruling
12 1. Paragraph 3                          Cohen seeks to use Exhibit 1 for Sustained: __
      “Attached as Exhibit 1 to            the truth of its content. Judicial Overruled:__
13    Defendants’ concurrently filed       notice may be taken of the
14    Request for Judicial Notice is a     existence of a court filing, but
      true and correct copy of the         not for the truth of the facts
15    United        States    Attorney’s   therein. See Lee v. City of Los
16    Opposition to Mr. Cohen’s            Angeles, 250 F.3d 668, 690 (9th
      Motion       for    a   Temporary    Cir. 2001). Further, the content
17    Restraining Order, filed on April    of Exhibit 1 is hearsay. Fed. R.
18    13, 2018, in the matter of           Evid. 801.
      Michael Cohen v. United States
19    of America, United States
20    District Court, Southern District
      of New York Case No. 18-mj-
21    03161 (the “SDNY Action,”
22    which is available on the Pacer
      website for the Southern District
23    of             New           York
24    (https://ecf.nysd.uscourts.gov).”
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           EVIDENTIARY OBJECTIONS TO SUPPLEMENTAL DECLARATION OF BRENT H. BLAKELY
Case 2:18-cv-02217-SJO-FFM Document 42 Filed 04/18/18 Page 3 of 5 Page ID #:871



 1        Paragraph 4:                        Cohen seeks to use Exhibit 2 for Sustained: __
     2.
          “Attached as Exhibit 2 to           the truth of its content. Judicial Overruled:__
 2        Defendants’ concurrently filed      notice may be taken of the
 3        Request for Judicial Notice is a    existence of a court filing, but
          true and correct copy of a letter   not for the truth of the facts
 4        brief by counsel for Mr. Cohen,     therein. See Lee v. City of Los
 5        filed on April 16, 2018, in the     Angeles, 250 F.3d 668, 690 (9th
          SDNY Action, which is available     Cir. 2001). Further, the content
 6        on the Pacer website for the        of Exhibit 2 is hearsay. Fed. R.
 7        Southern District of New York       Evid. 801.
          (https://ecf.nysd.uscourts.gov).”
 8

 9    Paragraph 5:                            Exhibit 3 is irrelevant, Fed. R. Sustained: __
     3.
      “Attached hereto as Exhibit 3 is        Evid. 401, and is hearsay. Fed. Overruled:__
10    a true and correct copy of a            R. Evid. 801.
11    certified transcript of statements
      made by Plaintiff’s counsel,
12    Michael        Avenatti      (“Mr.
13    Avenatti”),      to    the   media
      following an April 13, 2018
14    hearing in the SDNY Action.
15    This transcript is based on the
      audio-visual recording published
16    by The Daily Mail on or about
17    April 13, 2018, at the following
      URL:
18
      https://www.youtube.com/watch?
19    v=6NgRhR5w3y8.”
      Paragraph 6:                            Exhibit 4 is irrelevant, Fed. R. Sustained: __
20 4.
      “Attached hereto as Exhibit 4 is        Evid. 401, and is hearsay. Fed. Overruled:__
21    a true and correct copy of a            R. Evid. 801.
      transcript of Mr. Avenatti’s April
22
      15, 2018 appearance on “State of
23    the Union” on CNN, which was
      published by CNN on or about
24
      April 15, 2018, at the following
25    URL:
      http://transcripts.cnn.com/TRAN
26
      SCRIPTS/1804/15/sotu.01.html.”
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            EVIDENTIARY OBJECTIONS TO SUPPLEMENTAL DECLARATION OF BRENT H. BLAKELY
Case 2:18-cv-02217-SJO-FFM Document 42 Filed 04/18/18 Page 4 of 5 Page ID #:872



 1    Paragraph 7:                         Exhibit 5 is irrelevant, Fed. R. Sustained: __
     5.
      “Attached hereto as Exhibit 5 is     Evid. 401, and is hearsay. Fed. Overruled:__
 2    a true and correct copy of a         R. Evid. 801.
 3    certified transcript of statements
      made by Plaintiff Stephanie
 4    Clifford a.k.a. Stormy Daniels
 5    (“Plaintiff”) to the media
      following an April 16, 2018
 6    hearing in the SDNY Action.
 7    This transcript is based on the
      audio-visual recording published
 8    by CNN on or about April 16,
 9    2018, at the following URL:
      https://www.cnn.com/videos/poli
10    tics/2018/04/16/stormy-daniels-
11    speaks-after-cohen-hearing-
      sot.cnn.”
12    Paragraph 8:                         Exhibit 6 is irrelevant, Fed. R. Sustained: __
   6.
13    “Attached hereto as Exhibit 6 is     Evid. 401, and is hearsay. Fed. Overruled:__
      a true and correct copy of a         R. Evid. 801.
14    transcript of Mr. Avenatti’s April
15    16,      2018     appearance   on
      “Anderson Cooper 360 Degrees”
16    on CNN, which was published by
17    CNN on or about April 16, 2018,
      at      the    following     URL:
18
      http://transcripts.cnn.com/TRAN
19    SCRIPTS/1804/16/acd.01.html.”
      Paragraph 9:                         Exhibit 7 is irrelevant and Sustained: __
20 7.
      “Between on or about March 6,        misstates the evidence. Fed. R. Overruled:__
21    2018 and the date of this            Evid. 401.       It also lacks
      declaration, April 17, 2018,         foundation. Fed. R. Evid. 602.
22
      Plaintiff and her attorney, Mr.
23    Avenatti, have appeared on no
      less than fifty-five national
24
      television shows, to talk about
25    this case. Attached hereto as
      Exhibit 7 is a chart listing each
26
      of those appearances .”
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          EVIDENTIARY OBJECTIONS TO SUPPLEMENTAL DECLARATION OF BRENT H. BLAKELY
Case 2:18-cv-02217-SJO-FFM Document 42 Filed 04/18/18 Page 5 of 5 Page ID #:873



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     Dated: April 18, 2018             AVENATTI & ASSOCIATES, APC
 2
                                       By:          /s/ Michael J. Avenatti
 3                                           Michael J. Avenatti
                                             Attorneys for Plaintiff Stephanie Clifford
 4                                           a.k.a. Stormy Daniels a.k.a. Peggy Peterson
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           EVIDENTIARY OBJECTIONS TO SUPPLEMENTAL DECLARATION OF BRENT H. BLAKELY
